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 9                        IN THE UNITED STATES DISTRICT COURT
10                              FOR THE DISTRICT OF ARIZONA
11
      eUnify, Inc., and Steven Serra,              Case No.: CV-22-00810-PHX-DLR
12
                           Plaintiffs,                     NOTICE OF DISMISSAL
13                 vs.
                                                      (Assigned to the Hon. Douglas Reyes)
14    Anthony M. Serra, CPA, Inc.,
15
                           Defendant.
16
17        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiffs eUnify Inc. and Steven Serra

18 voluntarily dismiss Defendant Lisa Griesmer, executrix of the Estate of Anthony M. Serra. No
19 party has filed an answer or a motion for summary judgment in this matter.
20
21        RESPECTFULLY SUBMITTED this 22nd day of June 2022.

22                                         WILENCHIK & BARTNESS, P.C.
23
                                           By     /s/ Dennis I. Wilenchick
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